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                                                                                   11
                                                                                        Attorneys for Petitioner OptumRx
                                                                                   12
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                                                                                                        IN THE UNITED STATES DISTRICT COURT
                                                                                   13
                                                                                                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                                                                   14
                                                                                                                        SOUTHERN DIVISION
                                                                                   15

                                                                                   16 OPTUMRX, as successor by merger to               Case No.: 8:20-CV-02145-JVS-JDE
                                                                                      Catamaran Corporation, and OPTUMRX
                                                                                   17 in its own right                                 DECLARATION OF JOSH VAN
                                                                                                                                       GINKEL IN SUPPORT OF
                                                                                   18                     Petitioner,                  AMENDED PETITION TO COMPEL
                                                                                                                                       ARBITRATION
                                                                                   19         v.
                                                                                                                                       [Filed concurrently with Amended
                                                                                   20 COPPER BEND PHARMACY, INC.                       Petition to Compel Arbitration]
                                                                                        d/b/a Copper Bend Pharmacy, et al.
                                                                                   21
                                                                                                          Respondents.
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                                                                                             DECLARATION OF JOSH VAN GINKEL IN SUPPORT OF AMENDED
                                                                                                       PETITION TO COMPEL ARBITRATION
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                                                                                    1        I, Josh Van Ginkel, declare that, if called upon to testify, I could competently
                                                                                    2 testify to the following facts based on my own personal knowledge:

                                                                                    3        1.    I am presently employed by OptumRx, Inc. (“OptumRx”), as a Senior
                                                                                    4   Director of Network Contracting. I have held my current position for nearly two and
                                                                                    5   a half years and have been employed by UnitedHealth Group, OptumRx’s parent
                                                                                    6   corporation, for nearly ten years.
                                                                                    7        2.    OptumRx is a pharmacy care services company (also regularly referred to
                                                                                    8   as a Pharmacy Benefits Manager or “PBM”) that operates nationally to provide
                                                                                    9   various pharmacy related administrative services to a variety of clients in connection
                                                                                   10   with various health and prescription drug plans and insurance programs.
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                                                                                   11        3.    As a pharmacy care services organization, OptumRx deploys solutions to
                                                                                   12   achieve greater value, help improve affordability, and protect both consumers and its
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                                                                                   13   health plan customers from rising drug prices and high out-of-pocket costs. These
                                                                                   14   efforts include pursuing drug negotiating and contracting strategies with client
                                                                                   15   payors and pharmacies in the OptumRx network to ensure that we can deliver the
                                                                                   16   lowest possible cost for prescription drugs.
                                                                                   17        4.    In my capacity as Senior Director of Network Contracting, my duties and
                                                                                   18   responsibilities have included leading OptumRx’s efforts to contract with
                                                                                   19   independent pharmacies to join OptumRx’s network of participating providers that
                                                                                   20   serve the members of OptumRx’s clients.
                                                                                   21        5.    In connection with my duties and responsibilities, I am familiar with and
                                                                                   22   manage OptumRx’s relationships with various pharmacy service administrative
                                                                                   23   organizations (“PSAOs”). OptumRx and Catamaran Corporation (“Catamaran”)
                                                                                   24   contracted with PSAOs that negotiate and enter into contracts on behalf of their
                                                                                   25   affiliated pharmacies seeking to become participating pharmacy providers in the
                                                                                   26   OptumRx network. The PSAOs are large organizations with substantial bargaining
                                                                                   27   power and include, for example, Elevate, owned by Amerisource Bergen;
                                                                                   28   LeaderNet, owned by Cardinal Health; and Health Mart Atlas, owned by McKesson.
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                                                                                           DECLARATION OF JOSH VAN GINKEL IN SUPPORT OF AMENDED
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                                                                                    1         6.    When a PSAO is not involved in the contracting process, the pharmacy
                                                                                    2    may contract directly with OptumRx.
                                                                                    3         7.    Regardless of whether a pharmacy contracts directly or through a PSAO,
                                                                                    4    the contract consist of two instruments: 1) a Provider Agreement and 2) a Provider
                                                                                    5    Manual.
                                                                                    6         8.    On October 1, 2011, OptumRx changed its name from RxSolutions, Inc.,
                                                                                    7    d/b/a Prescription Solutions, to OptumRx, Inc.
                                                                                    8         9.    In July 2015, OptumRx acquired Catamaran, also a PBM. Catamaran was
                                                                                    9    formerly known as SXC Health Solutions and InformedRx. In 2012, SXC Health
                                                                                   10    Solutions acquired Catalyst Health Solutions, Inc. and changed its name to
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                                                                                   11    Catamaran.
                                                                                   12    I.   The Provider Manuals.
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                                                                                   13

                                                                                   14         10.   Each participating pharmacy in OptumRx’s network (and previously in
                                                                                   15    Catamaran’s network) has access to a participating Provider Manual, which, in
                                                                                   16    conjunction with the Provider Agreement, contains the terms of the parties’
                                                                                   17    Agreement.
                                                                                   18         11.   The Provider Manuals are updated regularly1 and made available to all
                                                                                   19    participating pharmacies online.2
                                                                                   20         12.   OptumRx notifies all of its network pharmacies when a new edition of
                                                                                   21    the Provider Manual becomes available online.
                                                                                   22
                                                                                        1 During the years at issue in the First Amended Complaint in the Illinois Action
                                                                                   23 (“FAC”), the Provider Manuals were updated more than once per year. For ease of

                                                                                   24 reference and to not overburden the court with multiple copies of the manuals, with a
                                                                                        few exceptions where there may have been material revisions, this Declaration
                                                                                   25 attaches only the relevant pages from one of the editions in effect during each year.

                                                                                   26
                                                                                      2 The latest edition of the Provider Manual can be accessed online at
                                                                                   27 https://learn.optumrx.com/pharmacymanual.

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                                                                                              DECLARATION OF JOSH VAN GINKEL IN SUPPORT OF AMENDED
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                                                                                    1       13.    Attached hereto as Exhibit 1 are true and accurate copies of the relevant
                                                                                    2   pages of the Catamaran Provider Manual in effect as of July 24, 2015.
                                                                                    3       14.    Attached hereto as Exhibit 2 are true and accurate copies of the relevant
                                                                                    4   pages of the Catamaran Provider Manual in effect as of August 21, 2015.
                                                                                    5       15.    Following the acquisition of Catamaran Corporation in 2015, the
                                                                                    6   OptumRx Provider Manual became the operative Provider Manual.
                                                                                    7       16.    Attached hereto as Exhibit 3 is a true and correct copy of the notification
                                                                                    8   that went out to all participating pharmacies following the acquisition of Catamaran,
                                                                                    9   informing them that the OptumRx Provider Manual was now the operative Provider
                                                                                   10   Manual.3
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                                                                                   11       17.    Attached hereto as Exhibit 4 are true and accurate copies of the relevant
                                                                                   12   pages of the OptumRx Provider Manual in effect as of November 6, 2015.
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                                                                                   13       18.    Attached hereto as Exhibit 5 are true and accurate copies of the relevant
                                                                                   14   pages of the OptumRx Provider Manual in effect in 2016.
                                                                                   15       19.    Attached hereto as Exhibit 6 are true and accurate copies of the relevant
                                                                                   16   pages of the OptumRx Provider Manual in effect in 2017.
                                                                                   17       20.    Attached hereto as Exhibit 7 are true and accurate copies of the relevant
                                                                                   18   pages of the OptumRx Provider Manual in effect in 2018.
                                                                                   19       21.    Attached hereto as Exhibit 8 are true and accurate copies of the relevant
                                                                                   20   pages of the OptumRx Provider Manual in effect in 2019.
                                                                                   21       22.    Attached hereto as Exhibit 9 are true and accurate copies of the relevant
                                                                                   22   pages of the 4th Edition of the OptumRx Provider Manual in effect as of September
                                                                                   23   3, 2020.
                                                                                   24
                                                                                      3 A copy of the notification is available in OptumRx’s archives online at:
                                                                                   25 https://learn.optumrx.com/content/dam/orx-rxmicros/pharmacy-

                                                                                   26
                                                                                      manual/archivefaxblasts/2015/20151106_INR_FaxblastFINAL2015-
                                                                                      PharmacyManualUpdate-Supersede_NewOptumRx_FINAL.pdf, and attached hereto
                                                                                   27 as Exhibit 3.

                                                                                   28                                           -4-
                                                                                           DECLARATION OF JOSH VAN GINKEL IN SUPPORT OF AMENDED
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                                                                                    1        23.   Attached hereto as Exhibit 9-A are true and accurate copies of the
                                                                                    2   relevant pages of the 3rd Edition of the OptumRx Provider Manual in effect prior to
                                                                                    3   September 3, 2020.
                                                                                    4        24.   In addition to the arbitration clauses contained in the Provider Manuals,
                                                                                    5   the Provider Agreements, which are also part of the parties’ agreement, contain
                                                                                    6   arbitration clauses.
                                                                                    7 II.    The    Provider    Agreements      with     the    Independently    Contracted
                                                                                    8        Respondent Pharmacies.
                                                                                    9

                                                                                   10        25.   The following Respondent Pharmacies contracted with OptumRx or
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                                                                                   11   Catamaran directly during all or portions of the time at issue in the Respondents’
                                                                                   12   FAC in the Illinois Action : Keaveny Drug, Inc.; C. Brown, Inc. d/b/a Browne’s
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                                                                                   13   Pharmacy; Kimar Corp. d/b/a The Medicine Store; and Tioga Drugs Co.
                                                                                   14   (collectively, the “Independently Contracted Pharmacies”).4
                                                                                   15        26.   Attached hereto as Exhibit 10 are true and accurate copies of the Provider
                                                                                   16   Agreement between OptumRx, Inc. and Keaveny Drug #203, in effect during all or
                                                                                   17   portions of the time period referenced in the FAC.
                                                                                   18        27.   Attached hereto as Exhibit 11 are true and accurate copies of the Provider
                                                                                   19   Agreement between OptumRx, Inc. and Keaveny Drug, in effect during all or
                                                                                   20   portions of the time period referenced in the FAC.
                                                                                   21        28.   Attached hereto as Exhibit 12 are true and accurate copies of the Provider
                                                                                   22   Agreement between OptumRx, Inc. and Browne’s Pharmacy, in effect during all or
                                                                                   23   portions of the time period referenced in the FAC.
                                                                                   24        29.   Attached hereto as Exhibit 13 are true and accurate copies of the Provider
                                                                                   25   Agreement between InformedRx, an SXC Health Solutions company, and Kimar
                                                                                   26
                                                                                   27 4 The Contract for Tioga Drugs Co. could not be located in Optum’s records.

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                                                                                    1   Corp. d/b/a The Medicine Store, in effect during all or portions of the time period
                                                                                    2   referenced in the FAC.
                                                                                    3        30.   Attached hereto as Exhibit 14 are true and accurate copies of the Provider
                                                                                    4   Agreement between RxSolutions, Inc. d/b/a Prescription Solutions and Kimar Corp.
                                                                                    5   d/b/a The Medicine Store, in effect during all or portions of the time period
                                                                                    6   referenced in the FAC.
                                                                                    7 III.   The Provider Agreements with Respondents’ PSAOs.
                                                                                    8

                                                                                    9        31.   The remaining Respondent Pharmacies entered into contracts with
                                                                                   10   OptumRx or Catamaran via their affiliated PSAOs during all of the relevant time at
                 A limited liability partnership formed in the State of Delaware




                                                                                   11   issue in the FAC.
                                                                                   12        32.   The Respondent Pharmacies are responsible for self-reporting their
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                                                                                   13   PSAO affiliation to the National Council for Prescription Drug Programs
                                                                                   14   (“NCPDP”). This information was obtained by researching the NCPDP database,
                                                                                   15   and is recorded in the table attached hereto as Exhibit 15.
                                                                                   16        33.   Attached hereto as Exhibit 16 are true and accurate copies of the relevant
                                                                                   17   pages of the Provider Agreement between InformedRx, an SXC Health Solutions
                                                                                   18   company, and AmerisourceBergen Corporation d/b/a Good Neighbor Pharmacy
                                                                                   19   Provider Network, in effect during all or portions of the time period referenced in
                                                                                   20   the FAC.
                                                                                   21        34.   Attached hereto as Exhibit 17 are true and accurate copies of the relevant
                                                                                   22   pages of the Provider Agreement between InformedRx, an SXC Health Solutions
                                                                                   23   company, and American Associated Druggists, Inc. d/b/a United Drugs (Arete), in
                                                                                   24   effect during all or portions of the time period referenced in the FAC.
                                                                                   25        35.   Attached hereto as Exhibit 18 are true and accurate copies of the relevant
                                                                                   26   pages of the Provider Agreement between OptumRx, Inc. and American Associated
                                                                                   27

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                                                                                             DECLARATION OF JOSH VAN GINKEL IN SUPPORT OF AMENDED
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                                                                                    1   Druggists, Inc. d/b/a United Drugs (Arete), in effect during all or portions of the
                                                                                    2   time period referenced in the FAC.
                                                                                    3       36.    Attached hereto as Exhibit 19 are true and accurate copies of the Provider
                                                                                    4   Agreement between InformedRx, an SXC Health Solutions company, and
                                                                                    5   Community Independent Pharmacy Network, in effect during all or portions of the
                                                                                    6   time period referenced in the FAC.
                                                                                    7       37.    Attached hereto as Exhibit 20 are true and accurate copies of the Provider
                                                                                    8   Agreement between OptumRx, Inc. and Community Independent Pharmacy
                                                                                    9   Network, in effect during all or portions of the time period referenced in the FAC.
                                                                                   10       38.    Attached hereto as Exhibit 21 are true and accurate copies of the Provider
                 A limited liability partnership formed in the State of Delaware




                                                                                   11   Agreement between InformedRx, an SXC Health Solutions company, and EPIC
                                                                                   12   Pharmacy Network, Inc., in effect during all or portions of the time period
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                                                                                   13   referenced in the FAC.
                                                                                   14       39.    Attached hereto as Exhibit 22 are true and accurate copies of the Provider
                                                                                   15   Agreement between OptumRx, Inc. and EPIC Pharmacy Network, Inc., in effect
                                                                                   16   during all or portions of the time period referenced in the FAC.
                                                                                   17       40.    Attached hereto as Exhibit 23 are true and accurate copies of the Provider
                                                                                   18   Agreement between InformedRx, an SXC Health Solutions company, and Family
                                                                                   19   Care Pharmacy Network / Family Care Plus Network, in effect during all or portions
                                                                                   20   of the time period referenced in the FAC.
                                                                                   21       41.    Attached hereto as Exhibit 24 are true and accurate copies of the Provider
                                                                                   22   Agreement between RxSolutions, Inc. d/b/a Prescription Solutions and Family Care
                                                                                   23   Pharmacy Network, in effect during all or portions of the time period referenced in
                                                                                   24   the FAC.
                                                                                   25       42.    Attached hereto as Exhibit 25 are true and accurate copies of the Provider
                                                                                   26   Agreement between SXC Health Solutions and GeriMed LTC Network, Inc., in
                                                                                   27   effect during all or portions of the time period referenced in the FAC.
                                                                                   28                                           -7-
                                                                                           DECLARATION OF JOSH VAN GINKEL IN SUPPORT OF AMENDED
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                                                                                    1       43.    Attached hereto as Exhibit 26 are true and accurate copies of the Provider
                                                                                    2   Agreement between RxSolutions, Inc. and GeriMed, Inc., in effect during all or
                                                                                    3   portions of the time period referenced in the FAC.
                                                                                    4       44.    Attached hereto as Exhibit 27 are true and accurate copies of the Provider
                                                                                    5   Agreement between InformedRx, an SXC Health Solutions company, and Strategic
                                                                                    6   Health Alliance II, Inc. d/b/a AccessHealth, in effect during all or portions of the
                                                                                    7   time period referenced in the FAC.
                                                                                    8       45.    Attached hereto as Exhibit 28 are true and accurate copies of the Provider
                                                                                    9   Agreement between OptumRx, Inc. and Strategic Health Alliance II, Inc. d/b/a
                                                                                   10   AccessHealth, in effect during all or portions of the time period referenced in the
                 A limited liability partnership formed in the State of Delaware




                                                                                   11   FAC.
                                                                                   12       46.    Attached hereto as Exhibit 29 are true and accurate copies of the Provider
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                                                                                   13   Agreement between SXC Health Solutions and Leader Drug Stores, Inc. d/b/a
                                                                                   14   LeaderNet, in effect during all or portions of the time period referenced in the FAC.
                                                                                   15       47.    Attached hereto as Exhibit 30 are true and accurate copies of the Provider
                                                                                   16   Agreement between OptumRx, Inc. and Leader Drug Stores, Inc. d/b/a LeaderNet, in
                                                                                   17   effect during all or portions of the time period referenced in the FAC.
                                                                                   18       48.    Attached hereto as Exhibit 31 are true and accurate copies of the Provider
                                                                                   19   Agreements between SXC Health Solutions and Medicine Shoppe InterNet, Inc., in
                                                                                   20   effect during all or portions of the time period referenced in the FAC.
                                                                                   21       49.    Attached hereto as Exhibit 32 are true and accurate copies of the Provider
                                                                                   22   Agreements between OptumRx, Inc. and Leader Drug Stores, Inc. d/b/a Medicine
                                                                                   23   Shoppe InterNet, Inc., in effect during all or portions of the time period referenced in
                                                                                   24   the FAC.
                                                                                   25       50.    Attached hereto as Exhibit 33 are true and accurate copies of the Provider
                                                                                   26   Agreements between SXC Health Solutions and Pharmacy First a/k/a Third Party
                                                                                   27   Station, in effect during all or portions of the time period referenced in the FAC.
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                                                                                           DECLARATION OF JOSH VAN GINKEL IN SUPPORT OF AMENDED
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                                                                                    1        51.   Attached hereto as Exhibit 34 are true and accurate copies of the Provider
                                                                                    2   Agreements between OptumRx, Inc. and Wholesale Alliance TPS, LLC d/b/a
                                                                                    3   Pharmacy First a/k/a Third Party Station, in effect during all or portions of the time
                                                                                    4   period referenced in the FAC
                                                                                    5        52.   Attached hereto as Exhibit 35 are true and accurate copies of the Provider
                                                                                    6   Agreement between SXC Health Solutions and Pharmacy Providers of Oklahoma,
                                                                                    7   Inc., in effect during all or portions of the time period referenced in the FAC.
                                                                                    8        53.   Attached hereto as Exhibit 36 are true and accurate copies of the Provider
                                                                                    9   Agreement between OptumRx, Inc. and Pharmacy Providers of Oklahoma, Inc., in
                                                                                   10   effect during all or portions of the time period referenced in the FAC.
                 A limited liability partnership formed in the State of Delaware




                                                                                   11        54.   Attached hereto as Exhibit 37 are true and accurate copies of the Provider
                                                                                   12   Agreement between SXC Health Solutions and Sav-Mor Drug Stores, in effect
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                                                                                   13   during all or portions of the time period referenced in the FAC.
                                                                                   14        55.   Attached hereto as Exhibit 38 are true and accurate copies of the Provider
                                                                                   15   Agreement between RxSolutions Inc. d/b/a Prescription Solutions and Sav-Mor
                                                                                   16   Drug Stores, in effect during all or portions of the time period referenced in the
                                                                                   17   FAC.
                                                                                   18        56.   Attached hereto as Exhibit 39 are true and accurate copies of the Provider
                                                                                   19   Agreement between SXC Health Solutions and Third Party Network a/k/a H.D.
                                                                                   20   Smith, in effect during all or portions of the time period referenced in the FAC.
                                                                                   21        57.   Attached hereto as Exhibit 40 are true and accurate copies of the Provider
                                                                                   22   Agreement between RxSolutions, Inc. d/b/a Prescription Solutions and Third Party
                                                                                   23   Network a/k/a H.D. Smith Wholesale Drug Co., in effect during all or portions of the
                                                                                   24   time period referenced in the FAC.
                                                                                   25        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the
                                                                                   26 foregoing is true and correct.
                                                                                   27

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                                                                                            DECLARATION OF JOSH VAN GINKEL IN SUPPORT OF AMENDED
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                                                                                    1

                                                                                    2 Executed this 15th day of December, 2020, in Irvine, California.

                                                                                    3

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                                                                                    5                                               _______________________________

                                                                                    6                                               Josh Van Ginkel

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                                                                                           DECLARATION OF JOSH VAN GINKEL IN SUPPORT OF AMENDED
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